1247
       Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 1 of 6 Page ID
                                       #:78787
19301930
           Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 2 of 6 Page ID
                                           #:78788
1930
       Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 3 of 6 Page ID
                                       #:78789
1930
       Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 4 of 6 Page ID
                                       #:78790
1930
       Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 5 of 6 Page ID
                                       #:78791
1930
       Case 2:04-cv-09049-DOC-RNB Document 3822 Filed 05/28/08 Page 6 of 6 Page ID
                                       #:78792
